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UNITED STATES DISTRICT COURT                                       DOC #: _________________
SOUTHERN DISTRICT OF NEW YORK                                      DATE FILED: 11/9/2021
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 UNITED STATES OF AMERICA                                      :
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                              -v-                              :        1:21-cr-202-GHW
                                                               :
 SEPEHR SARSHAR,                                               :             ORDER
                                                               :
                                            Defendant. :
                                                               :
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GREGORY H. WOODS, United States District Judge:

         On July 2, 2021, Defendant filed a motion to dismiss the indictment on the ground that the

indictment was impermissibly duplicitous. Dkt. No. 41. At the conference held on October 29,

2021, the Court provided a detailed oral opinion in which the Court concluded that the indictment

created a threat of impermissible duplicity. Transcript of the October 29, 2021 conference at 126–

30. The Court then presented the Government with three potential remedies: (1) dismiss the

indictment without prejudice; (2) have the Government elect to proceed based on only one of the

distinct crimes alleged; or (3) establish through jury instructions or a special verdict form that the

jury is unanimous as to the conduct underlying the conviction. See id. at 130. The Court invited

feedback from the Government regarding which remedy the Government would like to propose.

Id. at 130, 144–45. By its letter dated November 8, 2021, the Government requested that the Court

dismiss the indictment effective immediately. Dkt. No. 72. Defendant consents to the remedy

elected by the Government. Id. The Court will adopt the remedy proposed by the parties.

Accordingly, the indictment is dismissed without prejudice.
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        The Clerk of Court is directed to terminate all pending motions and adjourn all remaining

dates in this case.

        SO ORDERED.

Dated: November 9, 2021
                                                      __________________________________
                                                              GREGORY H. WOODS
                                                             United States District Judge




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